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12
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13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                Case No. 2:21-cv-06968-RGK-MAR
16
                 Plaintiff,                    STIPULATION AND REQUEST TO STAY
17                                             CIVIL FORFEITURE ACTION PENDING
                       v.                      CONCLUSION OF RELATED CRIMINAL
18                                             INVESTIGATION AND TO TAKE JANUARY
      $305,000.00 IN U.S. CURRENCY,            10, 2021 SCHEDULING CONFERENCE OFF
19                                             CALENDAR; [PROPOSED] ORDER THEREON
                 Defendant.                    LODGED UNDER SEPARATE COVER
20

21    MICHAEL MAGEE,
22               Claimant.
23

24          Plaintiff United States of America (“the government”) and
25    claimant Michael Magee (“claimant”), by the signatures of their
26    attorneys hereunder, hereby stipulate and request that this civil
27    forfeiture case be stayed pending the conclusion of an ongoing
28    related federal criminal investigation.        The government represents
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1     that the criminal investigation and the instant civil forfeiture case

2     arise out of the same facts and will involve many of the same issues

3     of fact and law, and judicial economy will be served by staying this

4     action.

5           Pursuant to the mandatory stay provision, 18 U.S.C. § 981(g):

6                 (1)   Upon the motion of the United States, the court shall

7                       stay the civil forfeiture proceeding if the court

8                       determines that civil discovery will adversely affect

9                       the ability of the Government to conduct a related
10                      criminal investigation or the prosecution of a related
11                      criminal case.
12                (2)   Upon the motion of a claimant, the court shall stay
13                      the civil forfeiture proceeding with respect to that
14                      claimant if the court determines that -
15                           (A)   the claimant is the subject of a related
16                                 criminal investigation or case;
17                           (B)   the claimant has standing to assert a claim
18                                 in the civil forfeiture proceeding; and

19                           (C)   continuation of the forfeiture proceeding

20                                 will burden the right of the claimant

21                                 against self-incrimination in

22                                 the related investigation or case.

23          Here, the parties agree that the matter should be stayed.           The

24    government is unwilling to respond to civil discovery that would

25    result in claimant and others receiving information they are not

26    entitled to receive during the course of criminal investigations.

27    Claimant, who has filed a claim to reflect his standing in this civil

28    forfeiture action, as well as others may be unable to respond to

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1     government discovery requests or provide deposition testimony under

2     oath without endangering their Fifth Amendment rights.           The parties

3     respectfully request that the Court stay this civil forfeiture action

4     until the criminal investigation is completed.         The government

5     proposes that it file reports regarding the status of the related

6     criminal investigation commencing on March 15, 2022 and every ninety

7     days thereafter to enable the Court to monitor the status of this

8     matter.   In addition, the parties request that the January 10, 2022

9     scheduling conference in this case be taken off calendar.
10                                       Respectfully submitted,
11    Dated: December 20, 2021           TRACY L. WILKISON
                                         United States Attorney
12                                       SCOTT M. GARRANGER
                                         Assistant United States Attorney
13                                       Chief, Criminal Division
                                         JONATHAN GALATZAN
14                                       Assistant United States Attorney
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16                                        /s/ Victor A. Rodgers            _
                                         VICTOR A. RODGERS
17                                       MAXWELL COLL
                                         Assistant United States Attorneys
18                                       Asset Forfeiture/General Crimes
                                         Sections
19
                                         Attorneys for Plaintiff
20                                       UNITED STATES OF AMERICA

21
      Dated: December 20, 2021           THE FREEDMAN FIRM PC
22

23                                       /s/ Michael G. Freedman_____
                                         MICHAEL G. FREEDMAN
24
                                         Attorneys for Claimant
25                                       MICHAEL MAGEE

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